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                  Exhibit 4
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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF OHIO
                                   CINCINNATI DIVISION


HUNTER DOSTER, et al.,                        )
                                              )
          Plaintiffs,                         )
                                              )
                                              )              No. 1:22-cv-00084
                  v.                          )
                                              )
FRANK KENDALL, et al.,                        )
                                              )
          Defendants                          )
                                              )

                        DECLARATION OF COLONEL STEVE L. BRADLEY

I, Colonel Steve L. Bradley, hereby state and declare as follows:

1.        I am currently employed by the U.S. Air Force as the Deputy Director of Air National

Guard Medical Service at the Air National Guard Readiness Center (ANGRC), located at Joint

Base Andrews, Maryland. I have held this position since June 1, 2021. I previously served as

Chief, Medical Readiness Division, Air National Guard Medical Service at ANGRC for five

years since January 19, 2016. I am generally aware of the allegations set forth in the pleadings

filed in this matter. I make this declaration in my official capacity and based upon my personal

knowledge and upon information that has been provided to me in the course of my official

duties.

2.        After the Secretary of Defense mandated the COVID-19 vaccine for all service members,

the Department of the Air Force developed and promulgated a department-wide implementation

guide, which included guidance on administrative exemptions available. The Air National Guard

has access to tracking data for administrative exemptions for the 54 States, Territories, and

District of Columbia Air National Guard units. The system of record that tracks this information
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is called the Aeromedical Services Information Management System (ASIMS), which is a web-

based application that provides the Air Force (including the Air National Guard) the capability to

track medical readiness, including immunization data, through a web portal for all personnel

both in fixed and deployed facilities.

4.      As of July 7, 2022, the ASIMS tracking report shows the following numbers of

administrative exemption for the Air National Guard:


         ASIMS Personal Exemption List: 7/7/2022 11:05



   Nbr          Admin          Admin        Admin      Admin
 Assigned     (Deceased)      (Missing)     (PCS)     (Temp)


     104621         3             681         11         43




5.      The majority of administrative exemptions provided in the Air National Guard falls under

the “Missing” category. The Air National Guard is authorized to use this exemption category for

members who are currently on terminal leave, have already separated or retired, or have their

separation or retirement applications pending processing by the Air Force Personnel Center

(AFPC). The duration for the “Deceased” and “Missing” administrative exemption categories is

indefinite because members in these two categories will not return to active service (i.e.,

performing federal military duty on a Title 32 or Title 10, U.S.C. status) in the Air National

Guard. Specifically, once a member is on terminal leave, they are no longer considered on active

service in the Air National Guard, and thus members are provided an administrative exemption

under AFI 48-110, Immunizations and Chemoprophylaxis for the Prevention of Infections

Diseases, 16 February 2018. Similarly, when members have separated or retired, or have their
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separation or retirement applications pending complete processing by the AFPC, there is no

expectation that such members will return to active service in the Air National Guard. The

“PCS” category is used for members who have permanently changed their duty station or

pending permanent change of duty station orders. The “Temp” category is for members who are

absent without leave and might have pending administrative voluntary or involuntary separation

action. The duration for the “PCS” and “Temp” categories is up to 90 days to provide sufficient

time for members to complete the underlying personnel or administrative actions.

   Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

correct. Executed this 2nd day of August 2022.




                                                    Steve L. Bradley
                                                    Colonel, U.S. Air Force
                                                    Deputy Director, Medical Services
                                                    Air National Guard Readiness Center
                                                    Joint Base Andrews, Maryland
